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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division
PATRICK FALTE,
Petitioner
Vv. Criminal No. 3:17cr49
UNITED STATES OF AMERICA,
Respondent.
FINAL ORDER

This matter comes before the Court on defendant Patrick Falte’s motion to vacate, set
aside, or correct his sentence under 28 U.S.C. § 2255. (ECF No. 82.) For the reasons stated in
the accompanying Opinion, the Court DENIES the Motion to Vacate. (ECF No. 82.) The Court
will not issue a certificate of appealability.

Should Falte desire an appeal, written notice of appeal must be filed with the Clerk of the
Court within thirty (30) days of the date of entry hereof. Failure to file a notice of appeal within
that period may result in the loss of the right to appeal.

It is so ORDERED.

Let the Clerk send a copy of this Order to all counsel of record and to the defendant.

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Date: 2. nj 2021 John A. Gitney, Fi dl
t Judge

Richmond, VA United States Distri

 

 

 

 
